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                     AFFIDAVIT OF SPECIAL AGENT MARK BODO
                      IN SUPPORT OF A CRIMINAL COMPLAINT

       I, Mark Bodo, after being duly sworn, depose and state as follows:

       1.      I am a Special Agent (SA) with the Department of Homeland Security, U.S.

Immigration and Customs Enforcement (ICE), Homeland Security Investigations (HSI), and

have been so employed since March of 2003. Prior to employment with HSI, I was employed as

a Special Agent with the United States Customs Service (USCS) beginning September of 2001.

USCS was merged into ICE with the creation of the department of Homeland Security. Prior to

employment with USCS, I was employed as a police officer in Youngstown, Mahoning County,

Ohio, as a patrolman. In total, I have been employed continuously as a law enforcement officer

for twenty-eight years. As a result of my past and present employment, I have conducted

numerous overt and covert investigations of persons suspected of identity theft and immigration

violations, for violations of both State and Federal laws, and executed search and arrest warrants.

My specialized training includes but is not limited to: Federal Law Enforcement Training

Academy and the Ohio Peace Officer Training Academy. I also have a bachelors in science and

applied science from Youngstown State University, majoring in Criminal Justice.

       2.      I submit this affidavit to support a criminal complaint and arrest warrant. I have

not included every detail known to me about this case. Rather, I have included those facts

necessary to establish probable cause.

       3.      On or about January 3, 2013, Baudilio Ramos was convicted of Sexual Abuse in

the First Degree and Endangering the Welfare of a Child in the Supreme Court, County of

Rockland, New York Case No. 2011-536. As part of the sentence, the court stated that he “must

register as a sex offender.”




                                                 1
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       4.      Ramos is a citizen of Guatemala and was deported from the United States on or

about September 10, 2024. According to Homeland Security Records, neither the Attorney

General nor the Secretary of Homeland Security have granted permission for Ramos to re-enter

the United States.

       5.      On or about January 29, 2025, a Witness-1 1 called Dep. Willie Harris at the

Mahoning County Sheriff’s Office. Dep. Harris is in charge of maintaining Mahoning County’s

Sex Offender Registry. Witness-1 told Dep. Harris that Baudilio Ramos from Youngstown,

Ohio may have committed a sex offense. Based on this information, Dep. Harris went to

Ramos’s house to follow up. Witness-2 2 told Dep. Harris that Ramos was convicted of a sex

offense in the past. When asked if he was required to register as a sex offender, Witness-2 said

he was not because he was deported from the country after his conviction.

       6.      On or about January 31, 2025, Ramos unexpectedly appeared at the Mahoning

County Sheriff’s Office and asked to speak with Dep. Harris. During a conversation in the

lobby, Ramos told him that he was convicted of a sex offense. Dep. Harris asked if he was an

undocumented alien and Ramos said that he was. He also told Dep. Harris that he came back

into the United States across the Mexican border.

       7.      Dep. Harris then contacted me regarding this matter. I reviewed Homeland

Security records and verified that Ramos was in the country illegally, having re-entered without

permission from the Attorney General or Homeland Security Secretary.




1
  The witness’s name is known to law enforcement but is not listed here to protect his/her
identity.
2
  The witness’s name is known to law enforcement but is not listed here to protect his/her
identity.

                                                2
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         8.      On February 11, 2025, Dep. Harris asked Ramos to meet him at the Mahoning

County Sheriff’s Office. He agreed to do so and arrived at approximately 10:00 a.m. They went

to an interview room and met with Dep. Sanchez and me. Ramos indicated that he could speak

English but preferred to speak in Spanish. Dep. Sanchez then read Ramos of his Miranda rights

in Spanish and provide the rights written in Spanish. Ramos indicated he understood his rights

and agreed to speak with us.

         9.      Ramos stated that he was born in Guatemala and a citizen of that country. He

came to the United States in 1990 on a commercial visa. He said that he was accused of

molesting a child in the past and served two-and-a-half years in prison. After his jail term, he

was deported and put on a plane to Guatemala.

         10.     Ramos stated that he stayed in Guatemala for ten months, and then came back to

the U.S. by crossing the river from Manta Moris, Mexico into Texas. He stated he paid a

“coyote” 3 $3,000 to take him from Mexico to Houston, Texas. Another “coyote” then took him

from Houston close to Spring Valley, New York. He later moved to the Youngstown area and

had been living there for about two years. Ramos stated that he did not receive permission to

reenter the United States.




3
    Coyote is a slang term for a human smuggler.

                                                   3
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       11.     Based on the above facts, there is probable cause to believe that Baudilio Ramos

has violated Title 8 United States Code, Section 1324, that is: Reentry into the United States after

Deportation.


                                         ____________________________________________
                                         MARK BODO
                                         SPECIAL AGENT
                                         HOMELAND SECUITY INVESTIGATIONS




Sworn to via telephone after submission by reliable electronic means. Fed. R. Crim. P. 3, 4(d),
and 4.1, this 12th
              ____ day of February 2025.



__________________________________________
_____________________________
HONORABLE CARMEN E. HENDERSON
                        HEND
UNITED STATES MAGISTRATE JUDGE
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